 Case 1:17-cr-00148-PLM       ECF No. 70, PageID.208      Filed 11/16/17    Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                             Hon. Paul L. Maloney
 v.
                                                             Case No. 1:17-cr-00148
 COREY GROSS,

         Defendant.
 ________________________________/


                          REPORT AND RECOMMENDATION

        Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on November 16, 2017, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Corey Gross entered a plea of guilty to Count One of

the Superseding Indictment in exchange for the undertakings made by the government in

the written plea agreement. In Count One of the Superseding Indictment, defendant is

charged with conspiracy to distribute and possess with intent to distribute heroin in

violation of 21 U.S.C. 841(a)(1) and 841(b)(1)(C). On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived

by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in

fact.
 Case 1:17-cr-00148-PLM        ECF No. 70, PageID.209        Filed 11/16/17    Page 2 of 2




       I therefore recommend that defendant's plea of guilty to Count One of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that

the written plea agreement be considered for acceptance at the time of sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


Date: November 16, 2017                                  /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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